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 3                          UNITED STATES DISTRICT COURT
 4                                  EASTERN DISTRICT OF CALIFORNIA
 5
      CRAIG LEON THOMPSON,                                  Case No. 1:24-cv-00658-SKO
 6
                            Plaintiff,                      ORDER GRANTING PLAINTIFF’S
 7                                                          APPLICATION TO PROCEED IN
                 v.                                         FORMA PAUPERIS
 8
                                                            (Doc. 2)
 9    MARTIN O’MALLEY,
10    Commissioner of Social Security,

11                   Defendant.
      _____________________________________/
12

13          Plaintiff Craig Leon Thompson filed a complaint on June 5, 2024, along with an application

14 to proceed in forma pauperis pursuant to 28 U.S.C. § 1915. (Docs. 1, 2.) Plaintiff’s application

15 demonstrates entitlement to proceed without prepayment of fees.

16          Accordingly, IT IS HEREBY ORDERED that:

17          1.        Plaintiff’s application to proceed in forma pauperis is GRANTED; and

18          2.        The Clerk of Court is DIRECTED to issue a summons, the Consent/Decline forms,

19                    and the Scheduling Order. Service on the defendant shall proceed under the Court’s

20                    E-Service program as follows: once a summons is issued, the Clerk of Court shall

21                    deliver to the Commissioner of Social Security Administration and the United States

22                    Attorney’s Office at their designated email addresses, a notice of electronic filing of

23                    the action along with the summons and complaint.

24
     IT IS SO ORDERED.
25

26 Dated:        June 6, 2024                                     /s/ Sheila K. Oberto                 .
                                                         UNITED STATES MAGISTRATE JUDGE
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